Case 15-28631-CMG   Doc 50    Filed 04/30/18 Entered 05/01/18 16:16:19   Desc Main
                             Document      Page 1 of 5
Case 15-28631-CMG   Doc 50    Filed 04/30/18 Entered 05/01/18 16:16:19   Desc Main
                             Document      Page 2 of 5
Case 15-28631-CMG   Doc 50    Filed 04/30/18 Entered 05/01/18 16:16:19   Desc Main
                             Document      Page 3 of 5
Case 15-28631-CMG   Doc 50    Filed 04/30/18 Entered 05/01/18 16:16:19   Desc Main
                             Document      Page 4 of 5
Case 15-28631-CMG   Doc 50    Filed 04/30/18 Entered 05/01/18 16:16:19   Desc Main
                             Document      Page 5 of 5
